            Case 1:17-cv-00248-DAE Document 1 Filed 03/21/17 Page 1 of 9




                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

JORDAN M. FRENCH, INDIVIDUALLY                  §
AND DERIVATIVELY ON BEHALF OF                   §
FIRST PAGE MANAGEMENT, LLC                      §
D/B/A STATUSLABS.COM                            §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §                              1:17-cv-248
                                                             Civil Action No. _____________
                                                §
DARIUS FISHER, JESSE BOSKOFF,                   §
FIRST PAGE MANAGEMENT, LLC                      §
D/B/A STATUSLABS.COM                            §
                                                §
       Defendants.                              §

                                  NOTICE OF REMOVAL

       Defendants, Darius Fisher (“Fisher”) and Jesse Boskoff (“Boskoff”), file this Notice of

Removal pursuant to 28 U.S.C. §§ 1441 and 1446, and in support thereof state as follows:

                     COMMENCEMENT, SERVICE, AND CONSENT

       1.      On March 7, 2017, Plaintiff, Jordan French (“French”), commenced this

duplicative action of the one he voluntarily dismissed on March 3, 2017 in Civil Action No. 17-

cv-00201, styled Jordan French v. Darius Fisher, Jesse Boskoff, First Page Management , LLC

d/b/a/ Statuslabs.com, by filing his second Plaintiff’s Original Petition and Request for

Disclosure (“Original Petition”) in the 201st Judicial District Court of Travis County, Texas, in

the case re-styled, Jordan M. French, individually and derivatively on behalf of First Page

Management LLC d/b/a Statuslabs.com v. Darius Fisher, Jesse Boskoff, First Page Management,

LLC d/b/a/ Statuslabs.com; and numbered, Cause No. D-1-GN-17-000954.

       2.      Plaintiff served Defendants, Fisher and Boskoff, on March 8, 2017, by service on

the undersigned counsel.



NOTICE OF REMOVAL                                                                          PAGE 1
               Case 1:17-cv-00248-DAE Document 1 Filed 03/21/17 Page 2 of 9




          3.      Plaintiff has also named First Page Management, LLC d/b/a Statuslabs.com

(“First Page”) to the suit but has asserted no claims against it in this action.

          4.      This Notice of Removal is filed within thirty days of Fisher’s and Boskoff’s

receipt of service of process of the lawsuit and is timely filed under 28 U.S.C. § 1446(b). This

Notice of Removal is also filed within one year of commencement of this action and is thus

timely under 28 U.S.C. § 1446(c).

          5.      Each Defendant required to consent to the removal of this cause of action has

joined in this Notice of Removal.

                                    GROUNDS FOR REMOVAL

          6.      Defendants Fisher and Boskoff are entitled to remove the state court action to this

Court pursuant to 28 U.S.C. §§§ 1332, 1441, and 1446 because this action is a civil action

involving an amount in controversy exceeding $75,000.00, exclusive of interest and costs,

between parties with diverse citizenship.

          A.      Diversity of Citizenship

          7.      There is complete diversity of citizenship between Plaintiff and the proper

Defendants, Fisher and Boskoff.

          8.      Plaintiff is a resident of the state of New Jersey. See Exhibit A, Original Petition

at ¶ 2.

          9.      Defendants, Fisher and Boskoff, each work in New York, New York, and at the

time of the commencement of the action, each reside in New York, New York. See Exhibit A,

Original Petition; and Declaration of Darrius Fisher and Declaration of Jesse Boskoff, attached

hereto as Exhibits B and C, respectively. As discussed in more detail below, First Page has been

improperly joined as a nominal party to the action and Plaintiff has not asserted any claims

against it, so its citizenship should be disregarded for the purposes of determining diversity


NOTICE OF REMOVAL                                                                              PAGE 2
            Case 1:17-cv-00248-DAE Document 1 Filed 03/21/17 Page 3 of 9




jurisdiction. See Lassberg v. Bank of America, 660 Fed. Appx. 262, 266 (5th Cir. 2016); and

Blankenship v. PNC Bank, N.A., Civil Action No. SA-11-CV-378-XR; 2011 U.S. Dist. LEXIS

159701 *5 (W.D. Tex. July 5, 2011). Further, to the extent Plaintiff French asserts in the

alternative that he is bringing a derivative suit on behalf of First Page, he is not entitled to bring

such a suit because he does not represent the interests of the corporation in enforcing the right of

the corporation. See TEX. BUS. ORGS. CODE § 21.552(2). In addition, French has failed to

sufficiently plead the facts necessary to bring a derivative action on behalf of the corporation.

See e.g. TEX. BUS. ORGS. CODE § 21.553(a).

       B.      Amount in Controversy

       10.      This Court may determine that removal is proper if it is facially apparent from

the Original Petition that the claims are for amounts exceeding $75,000.00, exclusive of interest

and costs. Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995). Though Plaintiff

did not specify an exact amount of damages sought in his Original Petition, he did plead that he

is seeking monetary relief in excess of $200,000.00 but not more than $1,000,000.00. See

Exhibit A, Original Petition at ¶ 7. Therefore, it is facially apparent that the amount in

controversy requirement is satisfied.

              IMPROPER JOINDER OF FIRST PAGE MANAGEMENT LLC

       A.      Nominal Party is not considered for Removal Purposes

       11.     First Page has been improperly joined and its citizenship should be ignored for

purposes of determining diversity jurisdiction. To establish a defendant has been improperly

joined, the removing party must establish either (1) the plaintiff fraudulently pleaded

jurisdictional facts, or (2) the plaintiff cannot establish a cause of action against the improperly

joined defendant. See Campbell v. Stone Ins., 509 F.3d 665, 669 (5th Cir. 2007). Plaintiff French

asserts claims for breach of contract and breach of fiduciary duty against Defendants Fisher and


NOTICE OF REMOVAL                                                                              PAGE 3
            Case 1:17-cv-00248-DAE Document 1 Filed 03/21/17 Page 4 of 9




Boskoff, but asserts no claim against First Page. Therefore, French cannot establish a cause of

action against First Page which is at most a nominal party as French stated in his initial suit

brought against Fisher and Boskoff. See Civil Action No. 1:17-cv-00201-LY, Dkt# 2-2 at p. 2 of

19 (French files this Original Petition “complaining of Darius Fisher and Jesse Boskoff, and

naming First Page Management, LLC d/b/a StatusLabs.com (“FP”) as a nominal defendant….” ).

       12.     Whether a party is nominal for removal purposes depends on “whether, in the

absence of the defendant, the Court can enter a final judgment consistent with equity and good

conscience which would not be in any way unfair or inequitable to the plaintiff.” Id. The

citizenship of a nominal party is disregarded for purposes of determining diversity jurisdiction.

Navarro Sav. Ass’n v. Lee, 446 U.S. 458, 465-66, 100 S.Ct. 1779, 64 L.Ed.2d 425 (1980).

Further, nominal parties are not required to consent to removal under the unanimity rule. Acosta

v. Master Maintenance and Constr., Inc., 452 F.3d 373, 379 (5th Cir. 2006).

       B.      First Page is a Nominal Party improperly joined in this Action

       13.     In the Fifth Circuit, to establish that a non-removing party is a nominal party, “the

removing party must show … that there is no possibility that the plaintiff would be able to

establish a cause of action against the non-removing defendant in state court.” Farias v. Bexar

County Bd. of Trustees, 925 F.2d 866, 871 (5th Cir. 1991). Thus some courts have noted that the

inquiry is the same as the improper joinder analysis. See Blankenship v. PNC Bank, N.A., 2011

U.S. Dist. LEXIS 159701 at *6 (W.D. Tex. July 5, 2011). Whether a party is nominal does not

depend on how the plaintiff labels his petition, but rather on the practical effect of a judgment on

a given defendant. Louisiana v. Union Oil Co. of Calif., 458 F.3d 364, 366-67 (5th Cir. 2006).

       14.     Plaintiff’s Original Petition fails to allege any “specific actionable conduct” by

First Page sufficient to support a cause of action asserted against it. Therefore, French’s Original




NOTICE OF REMOVAL                                                                            PAGE 4
              Case 1:17-cv-00248-DAE Document 1 Filed 03/21/17 Page 5 of 9




Petition, standing alone, does not set forth a reasonable basis on which French may be able to

establish First Page’s liability on the pleaded claims in state court. See Griggs v. State Farm

Lloyds, 181 F.3d 694, 699 (5th Cir. 1999). Plaintiff does not allege any facts that suggest a claim

is being asserted directly against First Page based on misconduct by First Page. Plaintiff asserts

two causes of action against Fisher and Boskoff: (1) breach of contract; and (2) breach of

fiduciary duty. Plaintiff does not allege a contract with First Page or that First Page breach the

terms of any such contract. Plaintiff also does not allege First Page owed him a fiduciary duty or

that it breached any such duty owed to him. Thus, First Page is nominal because in its absence,

the Court can enter a final judgment consistent with equity that would not in any way be unfair

or inequitable to Plaintiff. See Marsh v. Wells Fargo, N.A., 760 F.Supp. 2d 701, 709 (N.D. Tex.

2011).

         C.      Plaintiff asserts a Direct Action, not a Derivative Proceeding

         15.     Having asserted no actionable claim against First Page, French appears to attempt

to assert a derivative claim on behalf on First Page in the alternative. A review of French’s

Original Petition, however, shows he is asserting a direct action against Fisher and Boskoff, not a

derivative proceeding. In distinguishing between a direct action and a derivative proceeding, the

critical inquiry is not whether the member was individually injured, but whether the wrong was

directed against the individual member or against the corporation. See Haut v. Green Café

Mgmt., 376 S.W.3d 171, 177 (Tex.App.- Houston [14th Dist.] 2012, no pet.). A member may

prosecute a direct action when the alleged wrongful acts violate duties owed directly to the

member, such as when the member is a personal beneficiary of a contractual obligation or other

liability. See, Perry v. Cohen, 285 S.W.3d 137, 144 (Tex.App.- Austin 2009, pet. denied);

Brunswick Corp. v. Bush, 829 S.W.2d 352, 353 (Tex. App. – Fort Worth 1992, no writ). For




NOTICE OF REMOVAL                                                                           PAGE 5
          Case 1:17-cv-00248-DAE Document 1 Filed 03/21/17 Page 6 of 9




example, a minority shareholder has a direct action against the majority shareholders based on

allegations that the majority shareholders have unfairly dealt with him, suppressed payment of

dividends, made excessive dividend payments to themselves, used corporate funds for personal

expenses, and attempted to deprive the minority shareholder of the value of his interest. See

Redmon v. Griffith, 202 S.W.3d 225, 235 (Tex.App. – Tyler 2006, pet. denied.). French’s claims

against Fisher and Boskoff are consistent with a direct action rather than a derivative proceeding.

       16.     French’s claims against Fisher and Boskoff are direct claims arising from the

Operating Agreement of First Page Management LLC (the “Operating Agreement”) entered into

among the parties. The Operating Agreement provides that each Manager owes the fiduciary

duties of care and loyalty to the members of First Page. See Original Petition, Exhibit A,

Operating Agreement at Section 2.10. French alleges that Fisher and Boskoff breached those

duties to him by unsuccessfully attempting to oust him as a manager of First Page, raising their

salaries, paying themselves a monthly “bonus,” and having used First Page funds to pay personal

expenses, “to extricate profits from FP without paying French his fair 1/3 share of the

distribution.” Original Petition at ¶¶11-13. This is precisely the type of action that has been

found to be a direct action by a minority shareholder, not a derivative proceeding. See Horton v.

Robinson, 776 S.W.2d 260, 263 (Tex.App.- El Paso 1989, no writ).

       17.     French’s assertion of derivative claims in the alternative is contradicted by his

prior assertion of the identical claims as direct claims against Fisher and Boskoff in his the initial

suit filed against them which he promptly dismissed once it was removed to this Court. See Civil

Action No. 17-cv-00201, Dkt.# 3. Aside from a bald allegation in passing that First Page now is

somehow harmed by Fisher’s and Boskoff’s conduct, when in his initial pleading he was the only

party harmed, French fails to plead sufficient facts to establish he is indeed asserting a derivative




NOTICE OF REMOVAL                                                                              PAGE 6
           Case 1:17-cv-00248-DAE Document 1 Filed 03/21/17 Page 7 of 9




claim on behalf of First Page. See Tex. BUS. ORGS. CODE §§ 21.552 AND 21.553. Thus, First Page

is not a proper party and its citizenship should be ignored for purposes of determining diversity

jurisdiction in this action.

        18.     Moreover, because the standard for improper joinder is similar to that utilized by

a court in deciding a motion under Federal Rule of Civil Procedure 12(b)(6), the Court should

dismiss First Page and any alternative derivative claims from the lawsuit because Plaintiff failed

to state a cause of action against it, or on its behalf, upon which relief can be granted. See

Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568, 573 (5th Cir. 2004).

                                                VENUE

        19.     Venue lies in the United States District Court for the Western District of Texas,

Austin Division, pursuant to 28 U.S.C. §§ 1441(a) and 1446(a) because Plaintiff filed the action

in a state court within this judicial district and division.

                                               NOTICE

        20.     Defendants will give notice of the filing of this Notice of Removal to all parties of

record pursuant to 28 U.S.C. § 1446(d). Defendants will also file with the clerk of the state court

and will serve upon Plaintiff’s counsel, a notice of the filing of this Notice of Removal.

                               EXHIBITS TO NOTICE OF REMOVAL

        21.     The following documents are attached to this Notice of Removal as corresponding

lettered exhibits:

                A.      Index of Matters Being Filed, including the docket sheet, pleadings, and
                        all executed citations and process – Exhibit A

                B.      Declaration of Darius Fisher – Exhibit B

                C.      Declaration of Jesse Boskoff – Exhibit C

                D.      A list of all attorneys of record, including addresses, telephone numbers,
                        and parties represented – Exhibit D


NOTICE OF REMOVAL                                                                             PAGE 7
          Case 1:17-cv-00248-DAE Document 1 Filed 03/21/17 Page 8 of 9




               E.     Notice of Filing Removal in State Court – Exhibit E

                                            PRAYER

       WHEREFORE, Defendants, Darius Fisher and Jesse Boskoff, pursuant to the statutes

cited herein and in conformity with the requirements set forth in 28 U.S.C. § 1446, remove this

action from the District Court for the 201st Judicial District, Travis County, Texas to this Court.

Defendants further pray that the Court dismiss First Page Management, LLC and any alternative

derivative claims from this action under FED. R. CIV. P. 12(b)(6) because Plaintiff has failed to

state a claim against it, or on its behalf, upon which relief can be granted, and that the Court

award them such other and further relief to which they may show themselves justly entitled.

                                             Respectfully submitted,

                                             By: /s/ James G. Ruiz
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                                             ATTORNEYS FOR DEFENDANTS
                                             DARIUS FISHER AND JESSE BOSKOFF




NOTICE OF REMOVAL                                                                           PAGE 8
         Case 1:17-cv-00248-DAE Document 1 Filed 03/21/17 Page 9 of 9




                             CERTIFICATE OF SERVICE

        I certify that on March 21, 2017, a true and correct copy of the foregoing was
electronically served on:

      Lessie C. Gilstrap
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      ATTORNEYS FOR PLAINTIFF
      JORDAN FRENCH

                                             /s/ James G. Ruiz
                                            James G. Ruiz




NOTICE OF REMOVAL                                                               PAGE 9
